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                                UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-07591-VAP-MRWx                                Date January 20, 2022
  Title Ana M. Hanson et al v. SAH Industrial Painting Services et al



  Present: The Honorable          VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE


                Christine Chung                                     Not Reported
                 Deputy Clerk                                       Court Reporter


    Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                 None Present                                       None Present


  Proceedings:       MINUTE ORDER DISMISSING CASE FOR FAILURE TO PROSECUTE (IN
                     CHAMBERS)


         On January 4, 2022, the Court issued an Order to Show Cause why the instant
 action should not be dismissed for failure to prosecute. (Dkt. 10). Since that time,
 Plaintiff has not taken any steps to prosecute this case or respond to the Court’s Order.

        Consequently, the Court ORDERS that this action be, and hereby is, dismissed
 without prejudice for failure to prosecute and for failure to comply with the orders of the
 Court. Fed. R. Civ. P. 41(b); see Link v. Wabash R. Co., 370 U.S. 626 (1962).


        IT IS SO ORDERED.




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